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June 5, 2023

Judge Colleen Koliar-Kotley

U.S. District Court for the District of Columbia
333 Constitution Avenue, N.W.

Washington, D.C, 20001

ded_emecfi@ided.uscourts.gov
Re: U.S.A. vs. Prakazrel Michel, Case No. 1:19-cr-00148

Your Honor,

T hope this letter finds you well. I write to respectfully request a 30-day extension of time
to obtain new counsel to represent me in all post-trial matters. I understand that the current
deadline to file post-trial motions is June 9, 2023.

However, my current attorney, David Kenner, and his team and I have a conflict that
compromises their ability to competently represent me in any potential post-trial matters. I do not
wish to waive this conflict because I strongly believe that I would be prejudiced if I did so.

Thank you in advance for your comprehension. I look forward to receiving your response.

cc.

 

 

John D. Keller, Prosecutor (john. keller2(@usdoj.zov)
